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                                      DEFENDANTS' AFFIRMATIVE DEPOSITION DESIGNATIONS FOR
                                                         HOLLY WOODS
DEPO DATE               DESIGNATION                                  DEFENDANTS' AFFIRMATIVE DESIGNATIONS
                            TYPE

                                               Begin Page at         Begin Line at           End Page at         End Line at


       1/7/2019   All Def Affirm                                9                    11                      9                 21
       1/7/2019   All Def Affirm                               11                    10                     11                 25
       1/7/2019   All Def Affirm                               12                     1                     12                 10
       1/7/2019   All Def Affirm                               12                    21                     12                 25
       1/7/2019   All Def Affirm                               17                    25                     17                 25
       1/7/2019   All Def Affirm                               18                     1                     18                  5
       1/7/2019   All Def Affirm                               18                    18                     18                 25
       1/7/2019   All Def Affirm                               19                     1                     19                 20
       1/7/2019   All Def Affirm                               21                     1                     21                  4
       1/7/2019   All Def Affirm                               21                    16                     21                 25
       1/7/2019   All Def Affirm                               22                     1                     22                  3
       1/7/2019   All Def Affirm                               22                     9                     22                 15
       1/7/2019   All Def Affirm                               23                     7                     23                 25
       1/7/2019   All Def Affirm                               24                     1                     24                  5
       1/7/2019   All Def Affirm                               24                    10                     24                 25
       1/7/2019   All Def Affirm                               25                     1                     25                 10
       1/7/2019   All Def Affirm                               25                    18                     25                 21
       1/7/2019   All Def Affirm                               26                     5                     26                 25
       1/7/2019   All Def Affirm                               27                     1                     27                 25
       1/7/2019   All Def Affirm                               28                     1                     28                  4
       1/7/2019   All Def Affirm                               28                    23                     28                 25
       1/7/2019   All Def Affirm                               29                     1                     29                 17
       1/7/2019   All Def Affirm                               29                    20                     29                 24
       1/7/2019   All Def Affirm                               30                     8                     30                 11
       1/7/2019   All Def Affirm                               30                    13                     30                 15
       1/7/2019   All Def Affirm                               30                    17                     30                 25
       1/7/2019   All Def Affirm                               31                     1                     31                  4
       1/7/2019   All Def Affirm                               31                     7                     31                  9
       1/7/2019   All Def Affirm                               31                    18                     31                 22
       1/7/2019   All Def Affirm                               31                    24                     31                 24
       1/7/2019   All Def Affirm                               32                    18                     33                  1
       1/7/2019   All Def Affirm                               33                    10                     33                 25
       1/7/2019   All Def Affirm                               34                     1                     34                  9
       1/7/2019   All Def Affirm                               34                    15                     34                 22
       1/7/2019   All Def Affirm                               35                     4                     35                 25
       1/7/2019   All Def Affirm                               36                     1                     36                 15
       1/7/2019   All Def Affirm                               36                    24                     36                 25
       1/7/2019   All Def Affirm                               37                     1                     37                 22
       1/7/2019   All Def Affirm                               38                     5                     38                  8
       1/7/2019   All Def Affirm                               38                    10                     38                 10
       1/7/2019   All Def Affirm                               38                    12                     38                 20
       1/7/2019   All Def Affirm                               39                     1                     39                 17
       1/7/2019   All Def Affirm                               39                    20                     39                 25
       1/7/2019   All Def Affirm                               40                     1                     40                 15
       1/7/2019   All Def Affirm                               40                    22                     40                 25
       1/7/2019   All Def Affirm                               41                     1                     41                 16


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1/7/2019   All Def Affirm           42               4              42             22
1/7/2019   All Def Affirm           43               6              43              9
1/7/2019   All Def Affirm           43              11              43             20
1/7/2019   All Def Affirm           43              22              43             22
1/7/2019   All Def Affirm           43              23              43             25
1/7/2019   All Def Affirm           44               1              44             12
1/7/2019   All Def Affirm           46               9              46             17
1/7/2019   All Def Affirm           52               3              52             15




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